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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                 07/31/2023

JEEUN FRIEL, Individually and on behalf
of all others similarly situated,               21 Civ. 5837 (VM)

                       Plaintiffs,              ORDER

                - against -

DAPPER LABS, INC. and ROHAM
GHAREGOZLOU,

                       Defendants.


VICTOR MARRERO, United States District Judge.

       The case management conference currently scheduled for

August 4, 2023 is hereby adjourned to August 2, 2024 at 11:00

a.m.

SO ORDERED.

Dated:     31 July 2023
           New York, New York



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                                               Victor Marrero
                                                  U.S.D.J.




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